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EXHIBIT 9

                                                           U.S. Department of Justice
                                                           Civil Rights Division

                                                           Voting Section - NWB
                                                           950 Pennsylvania Ave, NW
                                                           Washington, DC 20530




                                                                    March 13, 2014



     VIA ELECTRONIC MAIL

     G. David Whitley
     Office of the Texas Attorney General
     209 West 14th Street
     Austin, Texas 78711
     david.whitley@texasattorneygeneral.gov

            Re: Veasey v. Perry, 2:13-cv-193 (S.D. Tex.); United States v. Texas, 2:13-cv-263 (S.D.
            Tex.); Texas State Conference of NAACP Branches v. Steen, 2:13-cv-291 (S.D. Tex.);
            Ortiz v. Texas, 2:13-cv-348 (S.D. Tex.)

     Dear Mr. Whitley:

            This responds to your letter of March 11, 2014, and memorializes our teleconferences
     held on March 12 and 13, 2014, concerning the definitions of the terms “you” and “your” as used
     in Defendants’ First Request for Production and the definition of the term “electronically stored
     information”/“ESI” as used in Defendants’ first three sets of production requests. See Defs. 1st
     RFP (Dec. 4, 2013); Defs. 2nd RFP (Feb 3, 2014); Defs. 3rd RFP (Feb. 24, 2013)

     Definition of Electronically Stored Information

              We understand that Defendants agree to amend the definition of ESI used in Defendants’
     first three sets of production requests, as set forth in your letter of March 11 and as modified
     based on our telephone calls, to exclude the following: deleted files; temporary files; electronic
     information stored in hard drives, smart cards, or integrated-circuit cards; and disaster recovery
     systems or files. In sum, we understand that Defendants agree to apply the following definition
     of ESI to the Defendants’ first three sets of request for production, except as to requests directed
     to Congress:

            The term “electronically stored information” means electronic information that is stored
            in a medium from which it can be retrieved and examined. It includes electronic files
            that can be retrieved from electronic storage.

                1) “Electronic file” refers to electronic documents; e-mail messages and files, and
                   metadata.
                2) “Electronic information system” refers to a computer system or network that
                   contains electronic files and electronic storage.
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             3) “Electronic storage” refers to electronic files stored on a computer network or on
                magnetic, optical, or other storage media, such as flash drives, DVDs, CDs, tapes,
                cartridges, and floppy diskettes. Electronic storage does not refer to systems
                intended for disaster recovery or other locations that are not reasonably
                accessible.

We appreciate Defendants’ willingness to narrow the scope of their definition of ESI in this
manner and do not object to it.*

Definition of “You” and “Your”

         We also understand from our conversation yesterday that Defendants propose to revise
further the definition of the terms “you” and “yours” that was set forth in your March 11, 2014,
letter and the definition would now read as follows:

         Department of Justice agencies, including their attorneys, agents, experts, and support
         personnel, the Office of the Attorney General, the Deputy Attorney General, the
         Associate Attorney General, and the Civil Rights Division; and

         The “United States Congress,” which means the following current or former United
         States Representatives and Senators, including their attorneys, agents, experts, and
         support personnel: Al Green (TX-09), Ruben Hinojosa (TX-15), Silvestre Reyes (TX-
         16), Beto O’Rourke (TX-16), Chet Edwards (TX-17), Sheila Jackson Lee (TX-18),
         Charles A. Gonzalez (TX-20), Joaquin Castro (TX-20), Nick Lampson (TX-22), Ciro
         Rodriguez (TX-23), Pete Gallego (TX-23), Lloyd Doggett (TX-25 and TX-35), Solomon
         P. Ortiz (TX-27), Henry Cuellar (TX-28), Gene Green (TX-29), Eddie Bernice Johnson
         (TX-30), Marc Veasey (TX-33), Filemon Vela (TX-34), Nancy Pelosi (CA-8 and CA-
         12), Bob Casey (Pa.), Harry Reid (Nev.), and Kay Hagan (N.C.).

We appreciate your narrowing the scope of “you” and “yours” by eliminating from the definition
the Executive Office of the President and all federal departments, except for the Department of
Justice, and narrowing affected offices of the Department of Justice. We believe this change
resolves our concerns about requests for documents from other Executive Branch entities.
However, we continue to object to the inclusion of Congress within the definition of “you” and
“your.”

        As we emphasized in our motion for a protective order, the State of Texas, not the United
States Congress, enacted SB 14. Defendants’ document requests as applied to members of
Congress and their staff seek information that is neither relevant nor reasonably calculated to
lead to the discovery of admissible evidence as required by Fed. R. Civ. P. 26(b)(1).



         *
           We understand that with respect to the Defendants’ production requests directed to Congress you
continue to propose your initial definition of ESI, which includes hard-to-obtain electronically stored information
obtained from hard drives. For the reasons explained in its motion for a protective order, the United States objects
to any request for information from the Congress. Accordingly, the United States cannot agree to that definition.

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Defendants’ Requests for Data from Federal Agencies

       We also discussed the requests for federal data from other federal agencies in
Defendants’ First Requests for Production (Req. Nos. 1-6). You agreed that the reference to
“your” in requests 1-6 has been superseded by the parties’ agreement to employ a mutually-
agreed upon process of conducting comparisons of state databases with certain federal databases,
which is currently underway.

Defendants’ Third Set of Requests for Production

        We also discussed, but did not resolve, the United States’ concern that the very same
issues concerning irrelevancy and undue burden that arise from Defendants’ definition of “you”
and “your” are similar to the overbreadth of Defendants’ third set of production requests.
Although those requests do not employ the terms “you” and “your,” they too involve requests for
information from Congress and, as such, are not reasonably calculated to lead to admissible
evidence and are unduly burdensome.

        We appreciate the steps you have taken toward narrowing the scope of Defendants’
discovery requests as described above. At the same time, it appears our disagreement with the
Defendants’ position regarding discovery directed toward Congress will require judicial
resolution.

      If your recollection of these matters differs in any way, please advise me at your earliest
convenience.

                                                            Sincerely,

                                                            /s/ Avner Shapiro
                                                            Avner Shapiro
                                                            Voting Section
                                                            Civil Rights Division


cc: counsel for Defendants (via electronic mail)




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